                Case 2:19-bk-14989-WB                Doc 573 Filed 01/29/20 Entered 01/29/20 16:17:11                             Desc
                                                      Main Document    Page 1 of 9


                     1    MORGAN, LEWIS & BOCKIUS LLP
                          Richard W. Esterkin, SBN 70769
                     2    richard.esterkin@morganlewis.com
                          300 S Grand Ave Fl 22
                     3    Los Angeles CA 90071-3132
                          Tel: (213) 612-2500
                     4    Fax: (213) 612-2501

                     5    Attorneys for
                          Amazon Logistics, Inc.
                     6

                     7

                     8                                  UNITED STATES BANKRUPTCY COURT
                     9                                   CENTRAL DISTRICT OF CALIFORNIA
                    10                                             LOS ANGELES DIVISION
                    11

                    12    In re:                                                       Case No. 2:19-bk-14989-WB
                                                                                       (Jointly Administered with
                    13             SCOOBEEZ, et al.1,                                  2:19-bk-14991-WB, and 2:19-bk-14997-WB)

                    14                                                                 Chapter 11
                                           Debtors and Debtors in
                    15                     Possession.            DECLARATION OF RICHARD W.
                                                                  ESTERKIN RE NOTICE OF HEARING
                    16    _______________________________________ ON MOTION TO MODIFY STAY
                                                                  (DOCKET NO. 569)
                    17    Affects:
                          ■ All Debtors                           Date:    February 4, 2020
                    18    □ Scoobeez, ONLY                        Time:    10:00 a.m.
                          □ Scoobeez Global, Inc., ONLY           Dept.:   United States Bankruptcy Court
                    19    □ Scoobur LLC, ONLY                              Edward Roybal Federal Building
                                                                           255 E Temple St., Ctrm 1375
                    20                                                     Los Angeles CA 90012

                    21                                                                 Judge: The Hon. Julia W. Brand

                    22

                    23             I, Richard W. Esterkin, declare:

                    24             1.      I am an attorney at law, duly admitted into practice before all courts for the State

                    25    of California and the United States District Court for the Central District of California. I am a

                    26

                    27    1
                               The Debtors and the last four digits of their respective federal taxpayer identification numbers are as follows:
                               Scoobeez (6339); Scoobeez Global, Inc. (9779); and, Scoobur, LLC (0343). The Debtors’ address is 3463
                    28         Foothill Boulevard, in Glendale, California 91214.
MORGAN, LEWIS &
 BOCKIUS LLP
 ATTORNEYS AT LAW
   COSTA MESA                                                                      -1-               ESTERKIN DECLARATION RE NOTICE
                         DB2/ 38180988.1
                 Case 2:19-bk-14989-WB                Doc 573 Filed 01/29/20 Entered 01/29/20 16:17:11                   Desc
                                                       Main Document    Page 2 of 9


                         1    member of the law firm of Morgan, Lewis & Bockius LLP, counsel to Amazon Logistics, Inc.

                         2    and Amazon.com, Inc. (collectively, "Amazon") herein.

                         3             2.     On January 29, 2020, I provided verbal notice of the 10:00 a.m., February 4, 2020

                         4    hearing on Amazon's motion for an order modifying the automatic stay regarding

                         5    mediation/settlement   of claims asserted in the matter of Key, et al. v. Scoobeez, et al., Superior

                         6    Court of the State of California for the County of San Diego Case No. 37-20l7-00039527-CU-

                         7    OE-CTRL (Docket No. 569) as follows:

                         8                    (a)     By leaving a telephone message with Claudia for Eric K. Yaeckel of the

                         9    Sullivan Law Group, APC, counsel for plaintiffs in the above-referenced action at approximately

                     10       1:10 p.m.;

                     11                       (b)     By speaking on the telephone with David Neale of the law firm of Levene,

                     12       Neale, Bender, Y 00 & Brill L.L.P., counsel for the Official Committee of Unsecured Creditors

                     13       herein at approximately 1:12 p.m.; and

                     14                       (c)     By speaking with John Simon of the law firm of Foley & Lardner LLP,

                     15       counsel for the Debtors herein, and Jennifer Nassiri of the law firm of Quinn, Emanuel, Urquhart

                     16       & Sullivan, LLP, counsel for Hillair Capital Management LLC herein, at approximately 2:15 p.m.

                     17                3.     On January 29,2020 at 1:20 p.m., Iprovided notice of the entry of the Court's

                     18       order shortening time the time for providing notice of the hearing on the foregoing motion to

                     19       counsel for each of the plaintiffs in the above-referenced action, the Debtors, the Official

                     20       Committee of Unsecured Creditors and Hillair Capital Management LLC via e-mail. A true and

                     21       correct copy of the foregoing e-mail, without the referenced attachments, is attached hereto as

                     22       Exhibit 1. The foregoing motion (Docket No. 569) and the Court's order shortening time (Docket

                     23       No. 572) were attached to the foregoing e-mail.

                     24                Ideclare under penalty of perjury that the foregoing is true and correct and that this

                     25       declaration was executed at Los Angeles, California on January 29,2020.

                     26

                     27
                                                                                      RichZdW.    Esterkin
                     28
MORGAN, LEWIS        &
  BocKIUsLLP
 AlTOKNEYSAT   LAW
   COSTA M~:SA                                                                  -2-            ESTERKIN DECLARA nON        RE NOTICE
                             DB2/38180988.1
Case 2:19-bk-14989-WB   Doc 573 Filed 01/29/20 Entered 01/29/20 16:17:11   Desc
                         Main Document    Page 3 of 9




                           EXHIBIT 1

                                Exhibit 1 - page 3
        Case 2:19-bk-14989-WB             Doc 573 Filed 01/29/20 Entered 01/29/20 16:17:11                 Desc
                                           Main Document    Page 4 of 9

Esterkin. Richard W.

From:                              Esterkin, Richard W.
Sent:                              Wednesday, January 29, 2020 1:20 PM
To:                                'yaeckel@sullivanlawgroup.com'; dln@lnbyb.com; 'smoses@foley.com'; Jennifer Nassiri
Subject:                           Scoobeez - Amazon Motion to Modify the Stay
Attachments:                       569 - Amazon Motion re Vega Mediation.pdf; 572 - OST re Vega Motion.pdf



Please take notice that the Court has granted Amazon's application for an order shortening time for the hearing on
Amazon's motion for an order modifying the automatic stay to permit Amazon to participate in the Feb. 6, 2020
mediation in the Vega litigation. Copies of the Court's order shortening time and Amazon's motion are attached.

Please feel free to call me, in the event that you have any questions regarding the motion.

Thank you.


Richard W. Esterkin
Morgan, Lewis & Bockius LLP
300 South Grand Avenue, Twenty-Second Floor I Los Angeles, CA 90071-3132
Direct: +1.213.612.1163 I Main: +1.213.612.2500 I Fax: +1.213.612.2501 I Cell: +1.310.903.2080
Richard.Esterkin@morganlewis.com    I   www.morganlewis.com
Assistant: Renee Robles   I +1.213.612.7321 I Renee.Robles@morganlewis.com




                                                     Exhibit 1 - page 4
                     Case 2:19-bk-14989-WB              Doc 573 Filed 01/29/20 Entered 01/29/20 16:17:11                Desc
                                                         Main Document    Page 5 of 9


                          1

                          2
                                                             CERTIFICATE         OF SERVICE FORM
                          3
                                                                 FOR ELECTRONIC           FILINGS
                          4
                                        I hereby certify that on January 29, 2020, I electronically filed the foregoing document,
                          5
                              Declaration       of Richard W. Esterkin re: Notice of Hearing on Motion to Modify Stay
                          6
                               (Docket No. 569), with the Clerk of the United States Bankruptcy Court, Central District of
                          7
                               California, Los Angeles Division, using the CM/ECF system, which will send notification of such
                          8
                               filing to those parties registered to receive notice on this matter.
                          9

                      10
                                                                                Renee Robles
                      11

                      12

                      13

                      14

                      15

                      16

                      17

                      18

                      19

                      20

                      21

                      22

                      23

                      24

                      25

                      26

                      27

                      28
MORGAN, LEWIS         &
  BocKIUsLLP
 AlTORNEYS AT LAW
   COSTA   MIoo'SA
                                                                                                 ESTERKIN DECLARATION RE NOTICE
                              DB2/ 38180988.1                             -5-
     Case 2:19-bk-14989-WB                        Doc 573 Filed 01/29/20 Entered 01/29/20 16:17:11                                            Desc
                                                   Main Document    Page 6 of 9




                                          PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 Morgan Lewis & Bockius, LLP
 300 S Grand Ave FI 22, Los Angeles CA 90071-3132

A true and correct copy of the foregoing document entitled (specify): Declaration of Richard W. Esterkin re: Notice of
Hearing on Motion to Modify Stay (Docket No. 569)


will be served or was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in
the manner stated below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
01/29/2020         , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that
the following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated
below:

 See Service List, Attached.



                                                                                        o     Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 01/29/2020            , I served the following persons andlor entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepai<;l,and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.
   Conway MacKenzie, Inc.            Daimler Trust                    Levene Neale Bender Yoo & Brill LLP
   333 SHope St Ste 3625             clo BK Servicing LLC            10250 Constellation Blvd Ste 1700
   Los Angeles CA 90071              PO Box 131265                    Los Angeles CA 90067
                                     Roseville MN 55113-0011

                                                                                        o Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 andlor controlling LBR, on (date) 01/29/2020           , I served
the following persons andlor entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission andlor email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.

 The Hon. Julia W. Brand, Suite 1382
 U.S. Bankruptcy Court, Roybal Federal Building
 255 E Temple St, Los Angeles CA 90012

                                                                                        o Service information continued on attached page
I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

01/29/2020         Renee Robles                                                                           ~g/-L-
 Date                      Printed Name                                                           Signature



            This form is mandatory.   It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June 2012                                                                                             F 9013-3.1.PROOF .SERVICE
                                                                            -6-
Case 2:19-bk-14989-WB        Doc 573 Filed 01/29/20 Entered 01/29/20 16:17:11              Desc
                              Main Document    Page 7 of 9



2:19-bk-14989-WB Service List:

Richard T Baum on behalf of Stockholder Rosenthal Family Trust
rickbaum@hotmail.com, rickbaum@ecfinforuptcy.com

Richard W Esterkin on behalf of Creditor Amazon Logistics, Inc.
richard.esterkin@morganlewis.com

John-Patrick M Fritz on behalf of Attorney Official Committee Of
Unsecured Creditors jpf@lnbyb.com,
JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Creditor Committee Official Committee of
Unsecured Creditors jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

John-Patrick M Fritz on behalf of Interested Party Levene, Neale, Bender,
Yoo & Brill L.L.P. jpf@lnbyb.com, JPF.LNBYB@ecf. inforuptcy.com

John-Patrick M Fritz on behalf of Plaintiff Official Committee of Unsecured Creditors of the
Estates of Scoobeez

and Scoobeez Global, Inc.

jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com

Riebert Sterling Henderson on behalf of Interested Party Courtesy NEF
shenderson@gibbsgiden.com

Vivian Ho on behalf of Creditor FRANCHISE TAX BOARD
BKClaimConfirmation@ftb.ca.gov

David Brian Lally on behalf of Attorney Grigori Sedrakyan
davidlallylaw@gmail.com

David Brian Lally on behalf of Attorney Peter and Barbara Ro Trustees of the Rosenthal Family
Trust UTD

3/25/1988

davidlallylaw@gmail.com

Alvin Mar on behalf of U.S. Trustee United States Trustee (LA)
alvin.mar@usdoj.gov, dare.law@usdoj.gov

Ashley M McDow on behalf of Debtor Scoobeez

amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Ashley M McDow on behalf of Debtor Scoobeez Global, Inc.

amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com



                                              -7-
Case 2:19-bk-14989-WB        Doc 573 Filed 01/29/20 Entered 01/29/20 16:17:11        Desc
                              Main Document    Page 8 of 9


Ashley M McDow on behalf of Debtor Scoobur LLC

amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Ashley M McDow on behalf of Plaintiff Scoobeez, Inc.

amcdow@foley.com,
sgaeta@foley.com;mhebbeln@foley.com;swilson@foley.com;jsimon@foley.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc.
smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Financial Services, Inc. dba Bentley
Financial Services smiller@tharpe-howell.com

Stacey A Miller on behalf of Creditor Porsche Leasing Ltd.
smiller@tharpe-howell.com

Kevin H Morse on behalf of Creditor Avitus Group, Inc.
kmorse@clarkhill.com, blambert@clarkhill.com

Shane J Moses on behalf of Debtor Scoobeez
smoses@foley.com

Shane J Moses on behalf of Plaintiff Scoobeez, Inc.
smoses@foley.com

Akop J Nalbandyan on behalf of Creditor Roy Anthony Catellanos
jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com

Akop J Nalbandyan on behalf of Interested Party INTERESTED PARTY
jnalbandyan@LNtriallawyers.com, cbautista@LNtriallawyers.com

Rejoy Nalkara on behalf of Creditor BMW Financial Services NA, LLC, c/o AIS
Portfolio Services, LP rejoy.nalkara@americaninfosource.com

Anthony J Napolitano on behalf of Creditor Hillair Capital Management LLC
anapolitano@buchalter.com,
IFS_filing@buchalter.com;salarcon@buchalter.com

David L. Neale on behalf of Attorney Official Committee Of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Creditor Committee Official Committee of Unsecured
Creditors dln@lnbyb.com

David L. Neale on behalf of Interested Party Levene, Neale, Bender, Yoo & Brill
L.L.P. dln@lnbyb.com

Aram Ordubegian on behalf of Interested Party Courtesy NEF
ordubegian.aram@arentfox.com




                                              -8-
Case 2:19-bk-14989-WB       Doc 573 Filed 01/29/20 Entered 01/29/20 16:17:11          Desc
                             Main Document    Page 9 of 9


Hamid R Rafatjoo on behalf of Creditor Shahan Ohanessian
hrafatjoo@raineslaw.com,
bclark@raineslaw.com;cwilliams@raineslaw.com

Gregory M Salvato on behalf of Creditor Azad Baban

gsalvato@salvatolawoffices.com,

calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf. inforuptcy.com

Gregory M Salvato on behalf of Interested Party INTERESTED PARTY
gsalvato@salvatolawoffices.com,

calendar@salvatolawoffices.com;jboufadel@salvatolawoffices.com;gsalvato@ecf. inforuptcy.com

Jeffrey S Shinbrot on behalf of Creditor Shahan Ohanessian
jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com

Steven M Spector on behalf of Creditor Hillair Capital Management LLC
sspector@buchalter.com,
IFS_efiling@buchalter.com;salarcon@buchalter.com

United States Trustee (LA)
ustpregion16.1a.ecf@usdoj.gov

Kimberly Walsh on behalf of Creditor Texas Comptroller of Public
Accounts bk-kwalsh@texasattorneygeneral.gov

Eric D Winston on behalf of Creditor Hillair Capital Management, LLC
ericwinston@quinnemanuel.com

Eric K Yaeckel on behalf of Creditor Arturo Vega
yaeckel@sullivanlawgroupapc.com

2:19-bk-14989-WB Notice will not be electronically mailed to:


Armory Securities, LLC

Conway MacKenzie, Inc.
333 S Hope St Ste 3625
Los Angeles, CA 90071

Daimler Trust
c/o BK Servicing, LLC
PO Box 131265
Roseville, MN 55113-0011

Force Ten Partners, LLC

Levene Neale Bender Yoo & Brill LLP
10250 Constellation Blvd Ste 1700
Los Angeles, CA 90067




                                             -9-
